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                           IN THE UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,

                        Plaintiffs,                                      8:17CR59

       vs.
                                                                          ORDER
CHRISTINA WALKER,

                        Defendant.


     UPON THE MOTION OF THE DEFENDANT, (Filing No. 80), and no objection from the
government,


     IT IS ORDERED:
     1. The Motion to Continue Change of Plea Hearing [80] is granted.
     2.      The Change of Plea hearing is continued to February 8, 2017 at 10:00 a.m. before
Magistrate Judge Michael D. Nelson, Courtroom No. 6, Second Floor, Roman L. Hruska U.S.
Courthouse, 111 So. 18th Plaza, Omaha, Nebraska.
     3. For this defendant, the time between today’s date and the change of plea hearing is excluded
for purposes of computing the limits under the Speedy Trial Act. See 18 U.S.C. § 3161(h)(7)(A),
(B)(i). The Court finds that the ends of justice served by the granting of such continuance outweigh
the best interests of the public and the defendant in a speedy trial for the reason that defendant has
been approved for a diversion program and further time is required for him to complete such
program.
     4. No further continuances will be granted, absent unusual circumstances.
     5. Since this is a criminal case, the defendant must be present, unless excused by the Court.


       Dated this 1st day of February, 2018.

                                                       BY THE COURT:

                                                       s/ Michael D. Nelson
                                                       United States Magistrate Judge
